     Case 2:15-cv-08562-CAS-PLA Document 1 Filed 11/02/15 Page 1 of 8 Page ID #:1




 1   JONATHAN A. STIEGLITZ, ESQ.
     (SBN 278028)
 2
     jonathan.a.stieglitz@gmail.com
 3
     THE LAW OFFICES OF
     JONATHAN A. STIEGLITZ
 4
     11845 W. Olympic Blvd., Suite 750
     Los Angeles, California 90064
 5   Telephone: (323) 979-2063
     Facsimile: (323) 488-6748
 6   Attorney for Plaintiff
 7

 8
                              UNITED STATES DISTRICT COURT
 9
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
10

11                                            )   Docket No. _____________
     KIMBERLY SMITH-GALINDO,                  )
12                                            )   COMPLAINT for violations of the
                 Plaintiff,                   )   Fair Debt Collection Practices Act, 15
13                                            )   U.S.C. § 1692 et seq., the Rosenthal
           vs.                                )   Fair Debt Collections Practices Act,
14                                            )   Cal. Civ. Code § 1788 et seq. and the
                                              )   Telephone Consumer Protection Act 47
15   PORTFOLIO RECOVERY                       )   U.S.C. § 227 and DEMAND FOR
                                              )   JURY TRIAL
16
     ASSOCIATES, LLC,
                 Defendant
17

18
           Plaintiff Kimberly Smith-Galindo ("Plaintiff") by and through her attorneys,
19

20   Firm Name, PLLC, as and for her Complaint against Defendant Portfolio Recovery
21
     Associates, LLC ("Defendant") respectfully sets forth, complains and alleges, upon
22
     information and belief, the following:
23

24                              JURISDICTION AND VENUE
25
     1. The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331, as
26

27      well as 15 U.S.C. § 1692 et. seq. and 28 U.S.C. § 2201. The Court also has
28




                                       [Complaint] - 1
     Case 2:15-cv-08562-CAS-PLA Document 1 Filed 11/02/15 Page 2 of 8 Page ID #:2




 1
        pendant jurisdiction over the State law claims in this action pursuant to 28

 2      U.S.C. § 1367(a).
 3
     2. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2).
 4

 5   3. Plaintiff brings this action for damages and declaratory and injunctive relief
 6
        arising from the Defendant's violation(s) of 15 U.S.C. § 1692 et. seq.,
 7

 8      commonly known as the Fair Debt Collections Practices Act (“FDCPA”), Cal.
 9
        Civ. Code § 1788 et seq., commonly known as the Rosenthal Fair Debt
10
        Collections Practices Act (“RFDCPA”), and 47 U.S.C. § 227, commonly
11

12      known as the Telephone Consumer Protection Act (“TCPA”).
13
                                           PARTIES
14

15   4. Plaintiff is a resident of the State of California, residing in the County of Los
16
        Angeles.
17

18
     5. Defendant is a "debt collector" as the phrase is defined in 15 U.S.C.

19      § 1692(a)(6) and used in the FDCPA, with an address at 120 Corporate
20
        Boulevard, Ste 100, Norfolk, VA, 23502.
21

22                              FACTUAL ALLEGATIONS
23
     6. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
24

25      as though fully stated herein with the same force and effect as if the same were
26
        set forth at length herein.
27

28




                                         [Complaint] - 2
     Case 2:15-cv-08562-CAS-PLA Document 1 Filed 11/02/15 Page 3 of 8 Page ID #:3




 1
     7. On information and belief, on a date better known to Defendant, Defendant

 2      began collection activities on an alleged consumer debt from the Plaintiff
 3
        (“Alleged Debt”).
 4

 5   8. The Alleged Debt was incurred as a financial obligation that was primarily for
 6
        personal, family or household purposes and is therefore a “debt” as that term is
 7

 8      defined by 15 U.S.C. § 1692a(5).
 9
                                         Collection Calls
10
     9. During the course of the past year, the Plaintiff began to receive collection calls
11

12      from Defendant on her cell phone.
13
     10.Plaintiff never authorized Defendant or any creditor to call her cell phone.
14

15   11.Defendant continued to harass Plaintiff with phone calls including calling
16
        multiple calls in a day, and up to twenty phone calls in a week.
17

18
     12.Collection in this fashion is nothing more than an attempt to harass the debtor.

19   13.These calls from Defendant to Plaintiff were collection communications in
20
        violation of numerous provisions of the FDCPA, including but not limited to 15
21

22      U.S.C. §§ 1692d, 1692e, 1692e(2), 1692e(5), 1692e(7), 1692e(8), 1692e(10),
23
        1692f, and 1692f(1).
24

25   14.These calls from Defendant to Plaintiff were collection communications in
26
        violation of numerous provisions of the TCPA, including but not limited to 47
27
        U.S.C. § 227 (b)(1)(A) and 47 U.S.C. § 227(c)(5)(B).
28




                                        [Complaint] - 3
     Case 2:15-cv-08562-CAS-PLA Document 1 Filed 11/02/15 Page 4 of 8 Page ID #:4




 1
     15.Plaintiff has suffered actual damages as a result of these illegal collection

 2      communications by these Defendants in the form of anger, anxiety, emotional
 3
        distress, fear, frustration, upset, humiliation, embarrassment, amongst other
 4

 5      negative emotions.
 6
     16.As a result of Defendant's improper debt collection practices described above,
 7

 8      Plaintiff has been damaged.
 9
                                  Respondeat Superior Liability
10
     17.The acts and omissions of the debt collectors employed as agents by Defendant
11

12      who communicated with Plaintiff as described herein, were committed within
13
        the time and space limits of their agency relationship with their principal,
14

15      Defendant.
16
     18.The acts and omissions by the other debt collectors were incidental to, or of the
17

18
        same general nature as, the responsibilities these agents were authorized to

19      perform by Defendants in collecting consumer debts.
20
     19.By committing these acts and omissions against Plaintiff, the debt collectors
21

22      were motivated to benefit their principal, Defendant.
23
     20.Defendant is therefore liable to Plaintiffs through the Doctrine of Respondeat
24

25      Superior for the intentional and negligent acts, errors, and omissions done in
26
        violation of state and federal law by these individual Defendant and its
27
        collection employees, including but not limited to violations of the FDCPA,
28




                                         [Complaint] - 4
     Case 2:15-cv-08562-CAS-PLA Document 1 Filed 11/02/15 Page 5 of 8 Page ID #:5




 1
        RFDCPA, and TCPA, in their attempts to collect the Alleged Debt from

 2      Plaintiff.
 3

 4
                                FIRST CAUSE OF ACTION
 5                               (Violations of the FDCPA)
 6
     21.Plaintiff incorporates by reference all of the above paragraphs of this Complaint
 7

 8      as though fully state herein with the same force and effect as if the same were
 9
        set forth at length herein.
10
     22.Defendant's debt collection efforts attempted and/or directed towards Plaintiff
11

12      violate various provisions of the FDCPA, including but not limited to 15 U.S.C.
13
        §§ 1692d, 1692e, 1692e(2), 1692e(5), 1692e(7), 1692e(8), 1692e(10), 1692f,
14

15      and 1692f(1).
16
     23.As a result of the Defendant's violations of the FDCPA, Plaintiff has been
17

18
        damaged and is entitled to damages in accordance with the FDCPA.

19

20                             SECOND CAUSE OF ACTION
                                (Violations of the RFDCPA)
21

22   24.Plaintiff incorporates by reference all of the above paragraphs of this Complaint
23
        as though fully state herein with the same force and effect as if the same were
24

25      set forth at length herein.
26

27

28




                                       [Complaint] - 5
     Case 2:15-cv-08562-CAS-PLA Document 1 Filed 11/02/15 Page 6 of 8 Page ID #:6




 1
     25.The RFDCPA requires debt collectors to comply with the FDCPA, and a

 2      violation of the FDCPA is also a violation of the RFDCPA. Cal. Civ. Code
 3
        § 1788.17.
 4

 5   26.The remedies under the FDCPA and RFDCPA are cumulative, and Plaintiff is
 6
        entitled to damages under both acts.
 7

 8   27.Upon information and belief, Defendant willfully and knowingly committed the
 9
        violations of the FDCPA and RFDCPA described herein, and is entitled to
10
        statutory damages pursuant to Cal. Civ. Code § 1788.30(b).
11

12

13                                 THIRD CAUSE OF ACTION
                                    (Violations of the TCPA)
14

15   28.Plaintiff repeats, reiterates and incorporates the allegations contained in all of
16
        the paragraphs of this Complaint with the same force and effect as if the same
17

18
        were set forth at length herein.

19   29.The TCPA prohibits a person from making any non-emergency call using any
20
        automatic telephone dialing system or an artificial or prerecorded voice to any
21

22      telephone phone number assigned to a cellular telephone service. 47 U.S.C. §
23
        227 (b), See 47 CFR 64.1200 (a)(1).
24

25   30.Defendant used an automatic telephone dialing system when it called Plaintiff’s
26
        cellular telephone in violation of 47 U.S.C. § 227 (b)(1)(A), 47 CFR
27
        64.1200(a)(1).
28




                                           [Complaint] - 6
     Case 2:15-cv-08562-CAS-PLA Document 1 Filed 11/02/15 Page 7 of 8 Page ID #:7




 1
     31.Defendant used an artificial or prerecorded voice when it called Plaintiff’s

 2      cellular telephone in violation of 47 U.S.C. § 227 (b)(1)(A).
 3
     32.Defendant willfully or knowingly violated the TCPA, 47 U.S.C. § 227, entitling
 4

 5      Plaintiff to three times the damages available under 47 U.S.C. § 227(c)(5)(B).
 6

 7

 8                            DEMAND FOR TRIAL BY JURY
 9
     33.Plaintiff demands and hereby respectfully requests a trial by jury for all claims
10
        and issues this complaint to which Plaintiff is or may be entitled to a jury trial.
11

12

13
                                  PRAYER FOR RELIEF
14

15   WHEREFORE, Plaintiff demands judgment from the Defendant as follows:
16
           a)     For actual damages provided and pursuant to 15 U.S.C. § 1692k(a)(1)
17

18
     and Cal. Civ. Code § 1788.30(a);

19         b)     For statutory damages provided and pursuant to 15 U.S.C.
20
     § 1692k(a)(2)(A) and Cal. Civ. Code § 1788.30(b);
21

22         c)     For attorney fees and costs provided and pursuant to 15 U.S.C.
23
     § 1692k(a)(3) and Cal. Civ. Code § 1788.30(c);
24

25         d)     For an award of damages pursuant to the TCPA, 47 U.S.C. §
26
     227(c)(5)(B);
27

28




                                         [Complaint] - 7
     Case 2:15-cv-08562-CAS-PLA Document 1 Filed 11/02/15 Page 8 of 8 Page ID #:8




 1
           e)    A declaration that the Defendant’s practices violated the FDCPA,

 2   TCPA, and the RFDCPA; and
 3
           f)    For any such other and further relief, as well as further costs, expenses
 4

 5   and disbursements of this action as this Court may deem just and proper.
 6

 7

 8   Dated: October 28, 2015
                                                         THE LAW OFFICES OF
 9
                                                         JONATHAN A. STIEGLITZ
10
                                                  By:          /s/ Jonathan A Stieglitz
11
                                                         Jonathan A Stieglitz
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                       [Complaint] - 8
